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                                                              DATE FILED: February 1, 2018 3:43 PM
  DISTRICT COURT, DENVER COUNTY,                              FILING ID: DEEC91E96F2C6
  STATE OF COLORADO                                           CASE NUMBER: 2018CV30398

  1437 Bannock St., Rm. 256
  Denver, CO 80202

  Plaintiff: ANTHONY PAUL, an individual

  v.

  Defendants: LIBERTY MUTUAL INSURANCE
  COMPANY, a Massachusetts Corporation.

                                                                      ▲ COURT USE ONLY ▲
  Attorney for Plaintiff:
  Mark P. Martens, #16095                                        Case No:
  MARTENS & ASSOCIATES, P.C.
  3900 E. Mexico Avenue, Suite 1300                              Division:
  Denver, CO 80210
  (303) 316-4500
  (303) 648-5587 (Facsimile)


                                            COMPLAINT


          Plaintiff, Anthony Paul, by and through his attorneys, Martens & Associates, P.C.,
  respectfully submits the following complaint:

                                       PARTIES AND VENUE

         1.      Plaintiff Anthony Paul (“Plaintiff”) is a natural person residing in the City of Castle
  Rock, State of Colorado.

         2.      Upon information and belief, Defendant Liberty Mutual Insurance Company
  (“Defendant”or “Defendant Liberty Mutual”) is a Massachusetts corporation authorized to do
  business in the State of Colorado.

        3.     The address for Defendant’s registered agent is provided as 1560 Broadway,
  Denver, CO 80202.

         4.      Venue is appropriate pursuant to C.R.C.P. 98.




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                                     GENERAL ALLEGATIONS

         5.     On or about February 27, 2015, Plaintiff suffered a significant head injury on his
  employer’s premises as he was leaving work. Despite the severity of his injuries, Plaintiff returned
  to work quickly.

        6.     Defendant is a provider of workers’ compensation benefits and paid workers’
  compensation benefits to Plaintiff as a result of the severe injuries he suffered.

         7.     On February 24, 2017, Plaintiff filed suit against the third party allegedly
  responsible for his injuries. Plaintiff then entered into protracted litigation, and eventually,
  settlement negotiations with the third-party responsible for his injuries. Plaintiff provided notice
  to Defendant of its intent to seek recovery on multiple occasions. Written notice was provided to
  Defendant on May 23, 2016 as required by C.R.S. 8-41-203(4)(a)(I). Plaintiff also provided notice
  per C.R.S 8-41-203(4)(a)(2) on April 28, 2017.

          8.     After more than eight months of litigation, on November 2, 2017, Plaintiff settled
  his claims against the third party tortfeasor for $80,000.00. Despite having notice of Plaintiff’s
  claim for more than 17 months, Defendant never responded to Plaintiff’s invitations to confer and
  provided no guidance regarding any lien it may assert prior to the settlement of Plaintiff’s claims
  or how it apportioned Plaintiff’s economic and non-economic damages.

          9.      Defendant has asserted a lien against Plaintiff’s settlement, apportioning 95% of
  the total settlement amount for economic damages and only 5% for non-economic damages.
  Defendant thus seeks 95% of Plaintiff’s settlement under C.R.S. 8-41-203. Defendant has refused
  to make any other offers.

          10.      Enforcement of Defendant’s lien would leave Plaintiff in a worse than he was in
  prior to filing suit and would eliminate any fees to which Plaintiff’s counsel is entitled.

          11.     Defendant has stated it is unwilling to adjust its lien unless such is contingent on
  Plaintiff signing a full and final release of all past, present, and future claims relating to his injury.

                                     FIRST CLAIM FOR RELIEF
                                            (Bad Faith)

          12.     Plaintiff repeats and incorporates by reference herein the previous paragraphs.

          13.    Plaintiff sustained significant injuries as the result of a third-party’s negligence. He
  has suffered considerable non-economic damages, in the form of physical and emotional pain and
  suffering, permanent disfigurement, permanent physical impairment, and loss of enjoyment of life.

          14.     Plaintiff engaged in protracted and expensive litigation, as well as settlement


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  negotiations, expending considerable costs, time and effort, causing further emotional pain and
  suffering and further diminishing his enjoyment of life.

          15.     Defendant acted unreasonably by not conferring with Plaintiff prior to or during
  settlement negotiations, unreasonably delaying by waiting only until such negotiations were
  concluded before revealing its settlement position and how it desired to apportion Plaintiff’s
  economic and non-economic damages. Defendant did so knowing that had such position been
  asserted prior to settlement, settlement negotiations would have stalled and this matter likely would
  have proceeded to trial.

          16.     Defendant has acted unreasonably by asserting a lien for nearly the entire amount
  of Plaintiff’s settlement. Enforcement of the lien would place Plaintiff in a worse position and
  eliminate Plaintiff’s attorney’s fees in violation of the Make Whole and Common Fund Doctrines
  established by C.R.S. 10-1-135.

          17.      Defendant has acted unreasonably in attempting to leverage its superior bargaining
  position and financial clout by insisting that it will adjust its lien amount only if Plaintiff signs a
  full and final release of all claims relating to his workers’ compensation injury.

           18.    Defendant knew its behavior was unreasonable, or recklessly disregarded the fact
  that its behavior was unreasonable. Defendant knew or should have known a reasonable individual
  would not undertake such settlement negotiations with the expectation that any settlement amount
  would be subject to a 95% lien. Defendant knew or should have known its lien amount would
  violate C.R.S. 10-1-135. Defendant knew or should have known that its condition for reducing its
  lien amount would exploit its superior bargaining power.

          19.    Defendant’s unreasonable behavior has caused Plaintiff to bear all the expense and
  effort of reaching a settlement and would leave Plaintiff in a worse position, benefitting only
  Defendant.

                                  SECOND CLAIM FOR RELIEF
                                  (Request for Jorgensen Hearing)

         20.     Plaintiff repeats and incorporates by reference herein the previous paragraphs.

          21.    Defendant paid worker’s compensation benefits to Plaintiff as a result of his
  injuries.

          22.    Plaintiff, with Defendant’s full knowledge, entered into a settlement with the third-
  party for $80,000.

         23.   The parties cannot agree, as of the filing of this Complaint, how to apportion the
  sum of $80,000. Specifically, the parties disagree as to the apportionment between economic and
  non-economic damages. Plaintiff therefore requests a Jorgensen hearing be scheduled to resolve


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  this matter.

          WHEREFORE, Plaintiff prays for judgment against Defendants in an amount to be
  determined at trial, for compound interest as provided by law from the date of loss, for costs, expert
  witness fees, attorney’s fees and for such other and further relief as this Honorable Court may deem
  just and proper in the circumstances.

  RESPECTFULLY submitted this 1st day of February, 2018.

                                         Martens & Associates, P.C.
                                         Duly signed copy on file at the law office of
                                         Martens & Associates. P.C.


                                         By:        /s/ Mark P. Martens
                                                    Mark P. Martens, #16095
                                                    ATTORNEYS FOR PLAINTIFF



  Plaintiff’s Address:
  c/o Mark Martens, Esq.
  Martens & Associates, P.C.
  3900 E. Mexico Ave., Ste. 1300
  Denver, CO 80210




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